      Case 5:20-cv-01126-SB-SHK Document 240 Filed 03/23/22 Page 1 of 5 Page ID #:4693
 Name and address:
  Samuel S. Rose, Esq.
  Kaufman Dolowich & Voluck LLP
  11755 Wilshire Boulevard, Suite 2400
  Los Angeles, California 90025




                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER:
Danielle Gamino
                                                                                     5:20-cv-01126-SB-SHK
                                                    PLAINTIFF(S)
                               v.
KPC Healthcare Holdings, Inc., et al.
                                                                               NOTICE OF APPEARANCE OR
                                                                               WITHDRAWAL OF COUNSEL
                                                  DEFENDANT(S)

                                                       INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
 Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
 Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-01 for
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in thefieldfor "CA Bar Number"):

Name: Samuel S. Rose                                                                CA Bar Number: 333865
Firm or agency: Kaufman Dolowich & Voluck LLP

Address: 11755 Wilshire Boulevard, Suite 2400, Los Angeles, California 90025

Telephone Number: 310-775-6511                                       Fax Number:
Email: srose@kdvlaw.com
Counsel of record for the following party or parties: Alerus Financial, N.A.




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SECTION II - TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
        The attorney listed above has already appeared as counsel of record in this case and should have been added to the
        docket. The date of the attorney's first appearance in this case:
 x      The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
        this attorney's firm or agency have previously appeared in the case.
        The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
        of this attorney's firm or agency have previously appeared in the case.
        By order of the court dated                            in case number                                 (see attached
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
        This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
        U.S.C. § 1407 from the                       District of                          , where it was assigned case number
                                 . The attorney listed above is counsel of record in this case in the transferee district, and is
        permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
        admission to practice pro hac vice and without the appointment of local counsel.
        On                            , the attorney listed above was granted permission to appear in this case pro hac vice
        before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this case before
        the District Court.
In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:
               USAO     FPDO         CJA Appointment          Pro Bono       Retained


SECTION III - TO REMOVE AN ATTORNEY FROM THE DOCKET
Notices of Electronic Filing will be terminated. Please select one of the following options:

        The attorney named above has already been relieved by the Court as counsel of record in this case and should
        have been removed from the docket. Date of the order relieving this attorney:

        Please remove the attorney named above from the docket of this case; at least one member of the firm or agency
        named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
        party or parties indicated.
        (Note: ifyou are removing yourselffrom the docket of this case as a result of separatingfrom a firm or agency, you
        should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 ("Notice of Change of Attorney Business or Contact
        Information"), concerning your obligations to notify the Clerk and parties of changes in your business or contact
        information.)
        The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
        filing. Date party was dismissed:

        The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
        filed:

SECTION IV - SIGNATURE

I request that the Clerk update the docket as indicated above.

                                                                          /s/Samuel S. Rose
      Date: 3/23/2022                                  Signature:

                                                       Name:        Samuel S. Rose


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    1
                                      PROOF OF SERVICE
    2
        STATE OF CALIFORNIA             )
    3 COUNTY OF LOS ANGELES )
    4        I am employed in Los Angeles County. My business address is 11755
      Wilshire Blvd., Suite 2400, Los Angeles, CA 90025, where this mailing occurred. I
    5 am over the age of 18 years and am not a party to this cause. I am readily familiar
      with the practices of KAUFMAN DOLOWICH & VOLUCK LLP for collection and
    6 processing of correspondence for mailing with the United States Postal Service.
      Such correspondence is deposited with the United States Postal Service the same
    7 day in the ordinary course of business.
    8          On March 23, 2022, I served the foregoing documents on the interested
        parties in this action entitled as follows:
    9
              NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL
   10
        [XX] by placing [ ] the original [X] true copies thereof enclosed in sealed envelopes
   11        addressed as follows:
   12                           SEE ATTACHED SERVICE LIST
   13 [     ] (BY MAIL) I placed such envelope for collection and mailing on this date
              following ordinary business practices.
   14
      [ ] (BY E-MAIL ELECTRONIC TRANSMISSION) Based on a court order
   15     or an agreement of the parties to accept service by e-mail or electronic
          transmission, I caused the documents to be sent to the person(s) at the e-mail
   16     address(es) so indicated on the attached list. I did not receive, within a
          reasonable time after the transmission, any electronic message or other
   17     indication that the transmission was incomplete or unsuccessful.
   18 [XX] (BY THE COURT’S ECF SYSTEM): I caused each such document(s) to
              be transmitted electronically by posting such document electronically to the
   19         ECF website of the United States District Court for the Central District of
              California, on all ECF-registered parties in the action.
   20
        [   ] (BY FEDEX) I am “readily familiar with the firm’s practice of collection
   21         and processing correspondence for mailing via Express Mail (or another
              method of delivery providing for overnight delivery pursuant to C.C.P. §
   22         1005(b)). Under that practice, it would be deposited with the United States
              Postal Service or other overnight delivery carrier (in this case, FedEx) on that
   23         same day with postage thereon fully prepaid at Los Angeles, California in the
              ordinary course of business.
   24
        [XX] (FEDERAL) I declare that I am employed in the office of a member of the
   25        bar of this court at whose direction the services was made.
   26         Executed on March 23, 2022, at Los Angeles, California.
   27
                                                      /s/ Rosanne T. Gambogi
   28                                                        Rosanne T. Gambogi
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    1                                 SERVICE LIST
    2               Danielle Gamino v. KPC Healthcare Holdings, et al.
               United States District Court Case No. 5:20-cv-01126-SB-SHK
    3
    4   Attorneys for Plaintiff             Attorneys for Defendants
        Danielle Gamino                     KPC Healthcare Holdings, Inc.; KPC
    5
        Robert J. Barton                    Healthcare, Inc., Employees Stock
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   13   William E. Donahoo               Los Angeles, CA 90067
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                                      PROOF OF SERVICE
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                                         PROOF OF SERVICE
